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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                               CASE NO.: 8:19-CV-00772-T-33JSS

 SAMANTHA RING,

        Plaintiff,

 vs.

 BOCA CIEGA YACHT CLUB,

        Defendant.
                                                      /

                                      NOTICE OF APPEAL

        NOTICE IS HEREBY GIVEN that Plaintiff SAMANTHA RING, in the above

 referenced case hereby appeals to the United States Court of Appeals for the Eleventh Circuit

 from the final Order granting Defendant Boca Ciega Yacht Club’s Motion for Summary

 Judgment entered in this action on March 27, 2020.

 Respectfully Submitted on 24th day of April, 2018.

                                              MARCY I. LAHART, P.A.
                                              /s/Marcy LaHart
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                                 CERTIFICIATE OF SERVICE

        I HEREBY CERTIFY that on this 24th day of April, 2019 a true and correct copy of the

 foregoing has been furnished via CM/ECF electronic mail service to the Clerk of the Court. I

 also certify that the foregoing document is being served this day on all counsel of record via

 transmission of Notices of Electronic Filing generated by CM/ECP.

                                              BY: /s/ Marcy LaHart
